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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

 RUMBLE, INC.,

       Plaintiffs,
 v.                                                            Case No. 8:23-CV-02718-CEH
 NANDINI JAMMI, CLAIRE ATKIN,
 AND JOHN DOE NOS. 1-10,

       Defendants.
 ___________________________

     DECLARATION OF JOHN M. BROWNING IN OPPOSITION TO
     RUMBLE, INC.’S MOTION TO EXTEND THE DEADLINE FOR
        MOTIONS TO ADD PARTIES OR AMEND PLEADINGS

        I, John M. Browning, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        I am counsel at the law firm of Davis Wright Tremaine LLP, attorneys for

 defendants Nandini Jammi and Claire Atkin (“Defendants”), and I submit this

 declaration to attach exhibits in support of Defendants’ opposition to Rumble, Inc.’s

 Motion to Extend the Deadline for Motions to Add Parties or to Amend Pleadings in

 the above-captioned action. This declaration is based on my personal knowledge,

 except as otherwise indicated.

        1.      Annexed hereto as Exhibit A is a true and correct copy of the relevant

 portions of Defendant Jammi’s Responses and Objections to Rumble Inc.’s First Set

 of Interrogatories.1




 1 The remaining portions of these Interrogatory Responses, which are not filed on the public docket as

 an attachment to this declaration, remain designated ATTORNEY’S EYES ONLY.


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       2.      Annexed hereto as Exhibit B is a true and correct copy of Defendant

 Jammi’s Responses and Objections to Rumble Inc.’s First Set of Requests for

 Production.

       3.      Annexed hereto as Exhibit C is a true and correct copy of a subpoena

 duces tecum dated July 25, 2024 that Rumble Inc. propounded against non-party

 Media Matters for America in this action.

       4.      Annexed hereto as Exhibit D is a true and correct copy of a subpoena

 duces tecum dated July 25, 2024 that Rumble Inc. propounded against non-party Dewey

 Square Group, LLC in this action.

 Dated: November 12, 2024                         /s/ John M. Browning
                                                 John M. Browning




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 Dated: November 12, 2024
                                           Respectfully submitted,

                                           SHULLMAN FUGATE PLLC

                                           By: /s/ Sarah M. Papadelias
                                           Deanna K. Shullman
                                           Florida Bar No. 514462
                                           Sarah M. Papadelias
                                           Florida Bar No. 0125098
                                           100 S. Ashley Dr., Ste. 600
                                           Tampa, FL 33602
                                           Telephone: (561) 429-3619
                                           dshullman@shullmanfugate.com
                                           spapadelias@shullmanfugate.com

                                           DAVIS WRIGHT
                                           TREMAINE LLP
                                           John M. Browning*
                                           Katherine M. Bolger*
                                           1251 Avenue of the Americas
                                           New York, New York 1002
                                           Telephone: (212) 489-8230
                                           katebolger@dwt.com
                                           jackbrowning@dwt.com
                                           * Admitted Pro Hac Vice

                                           Counsel for Defendants Nandini Jammi
                                           and Claire Atkin




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